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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

  JAMES RIVER INSURANCE COMPANY,

                Plaintiff,                          CASE NO:

  v.

  R.I.C., INC., AMANI FISHER, DARRELL
  GREEN, TWANISE FRAGER, AHMAD
  FORBES, TAMMIE ANDERSON and
  ALEXIS VALLON, as Co-Personal
  Representatives of the Estate of Clayton L.
  Dillard, III, DANECKA SMITH, as Parent
  and Natural Guardian of K.S., KAHLIL
  CLARK, DARRIUS COLBERT, Jr., TEVIN
  ESTY-LAMBERT, CHARLENE
  MICHELLE PETERSON, as Personal
  Representative of the Estate of Shaniqua
  Peterson, JORDAN KENNETH WHITE,
  CIREH CA’XIAIRA-SHANNEROLY
  COLLINS, FRANK WILLIAMS,
  KA’DEDRA THOMAS, YALONDA
  VENTURA, as Personal Representative of
  the Estate of Desmond Eugene Owens,
  CHARLES TYQUAN HAMPTON,
  DENNIS BERNARD ALLEN, Jr., and
  MARQUIS BUCKNER,

                Defendants.
                                                /

                                       COMPLAINT

       JAMES RIVER INSURANCE COMPANY (“James River”) files suit against R.I.C., INC.

 (“RIC”), AMANI FISHER, DARRELL GREEN, TWANISE FRAGER, AHMAD FORBES,

 TAMMIE ANDERSON and ALEXIS VALLON, as Co-Personal Representatives of the Estate

 of Clayton L. Dillard, III, DANECKA SMITH, as Parent and Natural Guardian of K.S., KAHLIL

 CLARK, DARRIUS COLBERT, Jr., TEVIN ESTY-LAMBERT, CHARLENE MICHELLE

 PETERSON, as Personal Representative of the Estate of Shaniqua Peterson, JORDAN
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 KENNETH WHITE, CIREH CA’XIAIRA-SHANNEROLY COLLINS, FRANK WILLIAMS,

 KA’DEDRA THOMAS, YALONDA VENTURA, as Personal Representative of the Estate of

 Desmond Eugene Owens, CHARLES TYQUAN HAMPTON, DENNIS BERNARD ALLEN,

 Jr., and MARQUIS BUCKNER (collectively, “Underlying Claimants”), and alleges:

                                   NATURE OF THE ACTION

        1.      This is an insurance coverage action seeking declaratory relief pursuant to 28

 U.S.C. §§ 2201 and 2202 to determine James River’s coverage obligations for a shooting incident

 under an insurance policy with an Assault and Battery Limits Endorsement.

                                 JURISDICTION AND VENUE

        2.      This Court has jurisdiction under 28 U.S.C. §1332 because there is complete

 diversity of citizenship between the plaintiff and the defendants, and the amount in controversy

 exceeds $75,000, exclusive of attorney’s fees and costs.

        3.      Venue is proper in this district because the underlying lawsuit is pending in this

 district and “a substantial part of the events … giving rise to the claim occurred in this district.”

 See 28 U.S.C. § 1391(b)(2).

        4.      All conditions precedent occurred, were performed, or were waived.

                                         THE PARTIES

        5.      James River is an Ohio corporation with its principal place of business in Virginia.

        6.      RIC is a Florida corporation with its principal place of business in Miami, Florida.

        7.      Amani Fisher is a Florida citizen.

        8.      Darrell Green is a Florida citizen.

        9.      Twanise Frager is a Florida citizen.

        10.     Ahmad Forbes is a Florida citizen.




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        11.     Decedent, Clayton L. Dillard, III, was a citizen of Florida at the time of the

 underlying shooting incident. Accordingly, Tammie Anderson and Alexis Vallon, as Co-Personal

 Representatives of the Estate of Clayton L. Dillard, III, are deemed Florida citizens.

        12.     Minor child, K.S., is a Florida citizen. Accordingly, Danecka Smith, as parent and

 natural guardian of her minor child K.S., is deemed a Florida citizen.

        13.     Kahlil Clark is a Florida citizen.

        14.     Darrius Colbert, Jr., is a Florida citizen.

        15.     Tevin Esty-Lambert is a Florida citizen.

        16.     Decedent, Shaniqua Peterson, was a citizen of Florida at the time of the underlying

 shooting incident. Accordingly, Charlene Michelle Peterson, as Personal Representative of the

 Estate of Shaniqua Peterson, is deemed a Florida citizen.

        17.     Jordan Kenneth White is a Florida citizen.

        18.     Cireh Ca’Xiaira-Shanneroly Collins is a Florida citizen.

        19.     Frank Williams is a Florida citizen.

        20.     Ka’dedra Thomas is a Florida citizen.

        21.     Decedent, Desmond Eugene Owens, was a citizen of Florida at the time of the

 underlying shooting incident. Accordingly, Yalonda Ventura, as Personal Representative of the

 Estate of Desmond Eugene Owens, is deemed a Florida citizen.

        22.     Charles Tyquan Hampton is a Florida citizen.

        23.     Dennis Bernard Allen, Jr., is a Florida citizen.

        24.     Marquis Buckner is a Florida citizen.




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                                         BACKGROUND
 A.      The Underlying Lawsuits

         25.     RIC owns a commercial shopping center located in Miami, Florida, commonly

 known as the County Club Shopping Center.

         26.     RIC leased out a commercial unit at the County Club Shopping Center to El Mula

 Banquet Hall, LLC (“El Mula”).

         27.     On 05/30/2021, a crowd of people standing outside of El Mula’s banquet hall were

 shot.

         28.     Ultimately, three people were killed and numerous others sustained injuries during

 the shooting.

         29.     As a result of the shooting, the Underlying Claimants filed the following four

 lawsuits against RIC in the Circuit Court for Miami-Dade County, Florida (the “Underlying

 Lawsuits”):

                 ▪   John’Trell Love; Amani Fisher; Darrell Green; Twanise Frager; Ahmad
                     Forbes; Tammie Anderson and Alexis Vallon, as co-personal representatives
                     of the Estate of Clayton Dillard, III; Danecka Smith, as legal guardian of K.S.;
                     Khalil Clark; Antonio Jones, Jr.; Darrius Colbert; Tevin Esty-Lambert;
                     Charlene Michelle Peterson, as personal representative of Shankquia
                     Peterson; Jordan Kenneth White; Cireh Ca’Xiaira-Shanneroly Collins; Frank
                     Williams; & Ka’Dedra Elaine Thomas v. RIC, Inc., et al., 2021-020937-CA-
                     01.1 See Second Am. Compl., attached as Exhibit “A.”

                 ▪   Yalonda Ventura, as personal representative of the Estate of Desmond Eugene
                     Owens, Sr., v. RIC, Inc., et al., 2022-013763-CA-01. See Compl., attached as
                     Exhibit “B.”

                 ▪   Dennis Bernard Allen Jr., & Charles Tyquan Hampton v. RIC, Inc., et al.,
                     2022-000810-CA-01. See Compl., attached as Exhibit “C.”

                 ▪   Marquis Buckner v. RIC, Inc., et al., 2022-008676-CA-01. See Compl.,
                     attached as Exhibit “D.”


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  Plaintiffs John’Trell Love and Antonio Jones, Jr., have dismissed their claims against RIC with
 prejudice.

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 B.     The James River Policy

        30.        James River issued a Commercial General Liability Policy to RIC as the Named

 Insured, bearing Policy No. 00077011-4, and effective 04/29/2021 to 04/29/2022 (the “Policy”).

 A copy of the Policy is attached as Exhibit “E.”

        31.        The Policy includes limits of insurance of $1,000,000 each occurrence and

 $2,000,000 aggregate.

        32.        The principal coverage form, CG 00 01 12 07, provides in pertinent part as follows:

        SECTION I – COVERAGES

        COVERAGE A BODILY INJURY AND PROPERTY DAMAGE

        1.         Insuring Agreement

                   a.     We will pay those sums that the insured becomes legally obligated to pay
                          as damages because of “bodily injury” or “property damage” to which
                          this insurance applies. We will have the right and duty to defend the
                          insured against any “suit” seeking those damages. However, we will have
                          no duty to defend the insured against any “suit” seeking damages for
                          “bodily injury” or “property damage” to which this insurance does not
                          apply. …

                   b.     This insurance applies to “bodily injury” and “property damage” only if:
                          …

                          (1)     The “bodily injury” or “property damage” is caused by an
                                  “occurrence” that takes place in the “coverage territory”; …

        SECTION V – DEFINITIONS …

        13.        “Occurrence” means an accident, including continuous or repeated exposure to
                   substantially the same general harmful conditions. …

 (Ex. E, 7, 20.)

        33.        The Policy also includes the following Assault and Battery Limits of Liability

 Endorsement (the “A&B Sublimit”) (Form No.: AP2045US 04-11):

               ASSAULT & BATTERY LIMITS OF LIABILITY ENDORSEMENT –
                             DEFENSE WITHIN LIMITS
        This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE

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       LIQUOR LIABILITY COVERAGE

                                             SCHEDULE

        Applicable Coverage                              Limits of Insurance
        Forms:
                                       Each Occurrence or
        ☒ Commercial General           Common Cause Limit               $25,000
        Liability Coverage Form
        □ Liquor Liability
        Coverage Form                  Aggregate Limit                  $50,000



       A. The amounts shown in the above SCHEDULE are the most we will pay for “claims
          expense” and those sums that the insured becomes legally obligated to pay as damages
          because of “bodily injury”, “property damage” or “personal and advertising injury”
          arising out of, resulting from, or in connection with:

           1. Assault or battery, whether or not caused or committed by or at the instructions
              of, or at the direction of or negligence of you, any insured, any person, or any
              causes whatsoever;
           2. The failure by you, any insured or any person to suppress or prevent an assault or
              battery;
           3. The failure to provide an environment safe from assault or battery, including but
              not limited to the failure to provide adequate security, or the failure to warn of the
              dangers of the environment which could contribute to assault or battery;
           4. The negligent employment, investigation, hiring, supervision, training, or
              retention of any person;
           5. The use of any force to protect persons or property whether or not the “bodily
              injury”, “property damage” or “personal and advertising injury” was intended from
              the standpoint of the insured or committed by or at the direction of the insured;
           6. The failure to render or secure medical treatment or care necessitated by any
              assault or battery.

           Assault includes, but is not limited to, assault, sexual abuse, sexual assault,
           intimidation, sexual harassment, verbal abuse, and any threatened harmful or offensive
           contact between two or more persons, whether or not caused or committed by or at the
           instructions of, or at the direction of or negligence of You, any insured, any person, or
           any causes whatsoever.

           Battery includes, but is not limited to, battery, sexual abuse, sexual battery, sexual
           molestation, and any actual harmful or offensive contact between two or more persons,
           whether or not caused or committed by or at the instructions of, or at the direction of
           or negligence of You, any insured, any person, or any causes whatsoever.

       B. The Limits of Insurance listed in the above SCHEDULE are not in addition to the
          Limits of Insurance shown in the Commercial General Liability Declarations or the
          Liquor Liability Declarations, but specifically limit the Limits of Insurance shown in
          the Commercial General Liability Declarations and the Liquor Liability Coverage
          Declarations.



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              Any “claims expense” arising from any claim or “suit” to which this endorsement
              applies and incurred by us shall be included within the Limits of Insurance in the above
              SCHEDULE and shall not be paid in addition to such Limits of Insurance. Our duty
              to defend any claim or “suit” or to pay any settlement or judgment or defense costs
              ends after we have paid our applicable Limits of Insurance as forth in the above
              SCHEDULE. All “claims expense” shall first be subtracted from the Limits of
              Insurance with the remainder, if any, being the amount available to pay damages. If
              the applicable Limit of Insurance is exhausted by the payment of settlements,
              judgments, awards and/or defense costs prior to final settlement, judgment or award,
              we shall have the right to withdraw from any further defense by tendering control of
              the defense of the “suit” to you. Any payments made under SUPPLEMENTARY
              PAYMENTS – COVERAGE A AND B will reduce the Limits of Insurance.

        C. “Claims expense” shall include investigations, adjustment and legal expense, interests
           and fees, including court costs and premiums on bonds. “Claims expense” does not
           include salary charges of regular employees of the Company. …

 (Ex. E, 37-38.)

 C.     Exhaustion of the Policy by Settlement of Shaniqua Peterson’s claim

        34.        On 06/23/2022, counsel for claimant Charlene Michelle Peterson, as Personal

 Representative of the Estate of Shaniqua Peterson (“Peterson”), sent a letter to James River

 demanding payment of the Policy’s $50,000 A&B Sublimit.

        35.        James River accepted the settlement offer and accordingly tendered a $50,000

 settlement check to Peterson’s counsel.

                        COUNT I – DECLARATORY JUDGMENT THAT
                               THE AB SUBLIMIT APPLIES

        36.        James River incorporates preceding paragraphs 1 through 35 as though fully

 restated herein.

        37.        The A&B Sublimit applies to any claim or lawsuit for bodily injury because of the

 underlying shooting incident, including the Underlying Lawsuits.

        38.        Under the A&B Sublimit, coverage is limited to $50,000 for all claims, including

 attorney’s fees and defense costs, which erode the $50,000 limit.

        39.        James River accordingly seeks a declaration that the Policy’s aggregate limit of

 $2,000,000 is reduced to $50,000 for the Underlying Lawsuits as set forth in the A&B Sublimit.

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        40.     James River also seeks a declaration that, once the $50,000 policy limit is

 exhausted by either defense, indemnity or other costs as specified in the A&B Sublimit, James

 River has no further obligation to defend or indemnify RIC in connection with the Underlying

 Lawsuits.

                     COUNT II – DECLARATORY JUDGMENT THAT
                      THE JAMES RIVER POLICY IS EXHAUSTED

        41.     James River incorporates preceding paragraphs 1 through 35 as though fully

 restated herein.

        42.     The A&B Sublimit applies to any claim or lawsuit for bodily injury because of the

 underlying shooting incident, including the Underlying Lawsuits.

        43.     Under the A&B Sublimit, coverage is limited to $50,000 for all claims, including

 attorney’s fees and defense costs, which erode the $50,000 limit.

        44.     All coverage under the Policy was exhausted by James River’s settlement payment

 of the $50,000 A&B Sublimit for Peterson’s claim.

        45.     Accordingly, James River has no duty to defend or indemnify RIC in connection

 with the Underlying Lawsuits.

        WHEREFORE, James River respectfully requests this Court:

        a.      Take jurisdiction and adjudicate the rights of the parties under the Policy;
        b.      Declare that the total available coverage for the Underlying Lawsuits is subject to
                the Policy’s $50,000 A&B Sublimit;
        c.      Declare that the Policy has been exhausted by James River’s $50,000 settlement
                payment to Peterson’s claim;
        d.      Declare that James River has no duty to defend or indemnify RIC in the
                Underlying Lawsuits;
        e.      Award James River all costs it incurred to prosecute this action; and
        f.      All other relief that this Court deems equitable, just and proper.




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 Dated: August 4, 2023             Respectfully submitted,

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